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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

CROSS OIL REFINING & MARKETING,
INC.,

                        Plaintiff,
                                                          Civil Action No. 21-cv-1825
                 v.                                       Hon. Judge Chutkan

MICHAEL S. REGAN,

                        Defendant.


    JOINT MOTION TO STAY ACTION PENDING SETTLEMENT NEGOTIATIONS

         The parties respectfully move the Court to stay this action until December 16, 2021,

pending the parties’ settlement discussions. In support of their motion, the parties state as follows:

         1.      The Complaint was filed on July 8, 2021 and served on July 19, 2021. (ECF Nos.

1, 4.)

         2.      Defendant’s response to the Complaint is presently due September 17, 2021.

         3.      The parties are currently engaged in settlement discussions, which, if successful,

would fully resolve this action. Alternatively, Defendant may take further action that may dispose

of the case without the need for additional litigation.

         4.      The parties request a stay of the action, including Defendant’s obligation to serve a

response to the Complaint under Fed. R. Civ. P. 12 and the parties’ obligation to comply with

Local Rule 16.3 by participating in a meet and confer and submitting a Rule 16(d) report, so that

the parties may focus on their settlement discussions.

         5.      The parties believe that a stay would expedite resolution of this matter and

conserve judicial resources.
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       6.      On December 16, 2021, the parties will file a joint report advising the Court of the

status of their settlement discussions. In their report, the parties will either propose a schedule for

the continuation of the litigation or seek an extension of the stay.



Dated: September 16, 2021



                                                Respectfully submitted,

                                                /s/ Mark W. DeLaquil________
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